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 1            •   Opposition brief due December 16, 2019

 2            •   Reply brief due December 20, 2019
 3
 4           DATED this �ay ofDecember, 2019.

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 7                                           ROBERT S. LASNIK

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     MOTION FOR BRIEFING SCHEDULE ON DEFENDANTS'                 1420 F!FfH AVENUE, SUITE 3700

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